                      Case 6:09-cr-00041-JRH-BKE Document 208 Filed 10/22/15 Page 1 of 1

AO 247 (Rev- l1/ll)                 Motionfor S€nteroe
                       Ord€rRegarding                               io l8 U.S.C.$ I5 82(c)(2)
                                                     ReductionPursuant                                   PageI of2 i Page2 Not for PublicDisclosure)


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                                     UmrBnSrarssDtsrnrcrCoLLRII?1
                                                               la DlY.
                                                                     for the
                                                        SouthemDistrictof Georgia                        22 Ailllr03
                                                                                                    ?0l5OCT
                                                           StatesboroDivision

                      United Statesof America
                                                                                                  ILERK

                                                                           CaseNo;        6:09CR00041-6
                       DontaeCaravisRoundtree
                                                                           USM No:        14064-021
Dateof OriginalJudgment:         !99!!!.b!! 1!,2qqe
Dateof PreviousAmendedJudgrnent:                                           JamesScott B),rne
(UseDate of LastAntendedJudgmentif Any)                                             Attoney
                                                                           DeJbndant's


                  ORDERREGARDINGMOTION FOR SENTENCEREDUCTION
                          PURSUANTTo 18U.S.C.S3s82(cX2)
       Upon motionof ! the defendant ! the Directorof the BureauofPrisons X theCourtunder18U.S.C.
$ 3582(c)(2)for a reductionin the term of imprisonmentimposedbasedon a guidelinesentencingrangethat has
iubsequentlybeenloweredandmaderetroactiveby the UnitedStatesSentencing      Commissionpursuantto 28 U.S.C.
$ 99a(u),andhavingconsideredsuchmotion,and takinginto accountthe policy statementset forth at USSGS1Bl l0
andthe sentencingfactorssetforth in l8 U.S.C.$ 3553(a),to the extentthattheyareapplicable,
IT lS ORDEREDthatthemotionis:
                                                                      of imprisonment
                                              previouslyimposedsentence
          X DENIED. ! GRANTEDandthe defendant's                                              in
                                                                                   1asreltected
the lqstjudgment issued) of                    is reducedto
                                            (Complete Parts I and II of Page 2 when motion is granted)




Exceptasothetwiseprovided,all provisionsofthe judgmentdated                                                                  in effect.
IT IS SO ORDERf,D.

OrderDate:                                                                                               's signoture


                                                                                             DudleyH. Bowen,Jr.
Effective Date:      November1,2015                                                                     -DistrictJudge
                                                                                           United Stalgs.
                (if dtfferent                                                                  Printed   ame and title
                            from orderdate)
